Name and Address
   Case  2:16-cv-05051-GW-AFM Document 330 Filed 01/30/18 Page 1 of 2 Page ID #:8002
 Jay M. Spillane (Bar No. 126364)
 Spillane Law Group PLC
 468 N. Camden Drive, Second Floor
 Beverly Hills, CA 90210


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                           CASE NUMBER:
 ALS SCAN, INC.
                                                                          2:16-cv-05051-GW-AFM
                                            PLAINTIFF(S)
                            v.
 CLOUDFLARE INC., et al.                                             NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                          DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
 Disc containing exhibits referenced in the Easton Declaration ISO motion for partial summary judgment,
 namely: 1) .pdf portfolio of infringement notifications to Cloudflare re Cloudflare Customer Sites; 2) a .zip
 file containing those same emails as produced with Bates numbers in the action.




Reason:
      Under Seal
      In Camera
✔     Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
      Per Court order dated:
      Other:




 January 30, 2018                                             Jay M. Spillane
Date                                                         Attorney Name
                                                             Plaintiff ALS Scan, Inc.
                                                             Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                            NOTICE OF MANUAL FILING OR LODGING
    Case 2:16-cv-05051-GW-AFM Document 330 Filed 01/30/18 Page 2 of 2 Page ID #:8003



                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
NOTICE OF MANUAL FILING OR LODGING (EASTON) will be served or was served (a) on
the judge in chambers in the form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) January 30, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) December 1, 2017, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) January 30, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/30/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
